      Case 1:19-cv-00651-RDM Document 10-2 Filed 04/01/19 Page 1 of 5



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, AIRLINE DIVISION; and
AIRLINE PROFESSIONALS ASSOCIATION
OF THE INTERNATIONAL BROTHERHOOD
OF TEAMSTERS, LOCAL UNION NO. 1224,

            Plaintiffs,                      Civil Action No. 1:19-CV-00651-RDM

      v.

ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,

            Defendants.




         DECLARATION OF M. DAVID CITRANO IN SUPPORT OF
  DEFENDANTS’ MOTION TO DISMISS UNDER RULES 12(B)(1) AND 12(B)(6)
        Case 1:19-cv-00651-RDM Document 10-2 Filed 04/01/19 Page 2 of 5



                          DECLARATION OF M. DAVID CITRANO

                I, M. David Citrano, declare and state as follows:

                1.      The facts set forth below are known to me personally. If I were called as a

witness in this matter, I could and would testify competently to each fact so set forth.

                2.      I am presently employed by Atlas Air, Inc. (“Atlas”) as Staff Vice

President-Technical Operations and Senior Director of Maintenance. In these positions, I am

responsible for supervising the maintenance of all Atlas aircraft on a worldwide basis. Since

1998, I have worked for Atlas in various maintenance positions, beginning as a maintenance
scheduler and working my way to my present positions. Both prior to and during my

employment with Atlas I have performed maintenance on aircraft as an aviation maintenance

technician. I also have held several management position in which I have worked directly with

technicians in the field coordinating their activities.

                3.      Atlas operates a fleet of aircraft to transport cargo throughout the nation

and around the world. In order to service its aircraft, Atlas employs approximately 390

Technical Operations personnel including maintenance managers. These managers coordinate

and oversee the work of the approximately 5,600 technicians who maintain Atlas aircraft through

contracts with outside vendors. Aircraft are subject to rigorous checks on a scheduled basis and

also are checked by a technician while on the ground between every flight. If any maintenance

issues have been identified by the incoming flight crew, and/or are discovered while the aircraft
is on the ground, they are addressed by a technician.

                4.      Manuals published by the aircraft manufacturer specify that after certain

maintenance has been performed on the engines or other systems of the aircraft, the engines must

be started to validate that the maintenance has been performed properly and the discrepancy has

been corrected. While some technicians who work on Atlas aircraft are trained and authorized to

start the engine of an aircraft, the large majority are not. Due to the complexity and potential risk
of causing damage to the engine, some maintenance vendors have made the business decision to


                                                   1
        Case 1:19-cv-00651-RDM Document 10-2 Filed 04/01/19 Page 3 of 5




not allow their technicians to conduct maintenance-related engine starts. Others allow

technicians to start the engines but only when they have years of experience and have

demonstrated great proficiency in their jobs. Because pilots are trained to start engines as a part

of their job functions, technicians who are not so trained and authorized have requested, for as

long as I can recall while working at Atlas, assistance from pilots to perform the maintenance-

related engine starts. In the large majority of cases, pilots who are requested by technicians to

assist in the maintenance process have agreed to start the engines.

               5.      Atlas and the airport authorities have implemented a number of safety

protocols to ensure that maintenance-related engine starts are performed in a safe environment.

For example, before a pilot can conduct a maintenance-related engine start, the technician must

gain clearance from the airport authority at certain airports. This is important because the

engines of the aircraft may be pointed toward a runway or a taxiway, and the authorities will not

approve the procedure until they are confident that area is clear of traffic. Moreover, before the

engines are started, pilots illuminate the flashing red lights on the top and on the belly of the

aircraft. Airport personnel on the tarmac are thus alerted when an engine will be started for

maintenance or any other purpose.

               6.      In order to further ensure that maintenance-related engine starts are

performed safely, Atlas utilizes ground-handling employees to work with the pilot. Before the
pilot starts the engines he is in contact by radio with a ground-handling employee who is

positioned on the tarmac. The ground-handling employee will inform the pilot when it is safe to

start the engines and remains on the tarmac to ensure that no safety issues arise while the engines

are running. The ground-handling employees are fully trained in safety protocols associated with

working in and around aircraft and on the tarmac of an airport. Once the engines are started, the

ground- handling employee remains in contact with the pilot until the engines are shut down.

The technician who requested the maintenance-related engine start normally remains with the

pilot in the cockpit and validates his maintenance work by observing the cockpit instruments.
               7.      In the past, some individual pilots declined to perform a maintenance-
                                                 2
        Case 1:19-cv-00651-RDM Document 10-2 Filed 04/01/19 Page 4 of 5




related engine start when requested by a technician. This has not occurred frequently in my

experience, but when it does, an Atlas maintenance manager must find a technician who is

authorized to start the engines. Depending on the location and time of day, this may take hours.

Atlas flies to many remote locations around the world, and it may be required to transport a

technician from another airport to assist with the engine start. Because Atlas relies on the long-

term past practice of its pilots voluntarily to perform maintenance-related engine starts when

requested to do so by a technician, if pilots were to decline to perform such engine starts on a

concerted (rather than individual) basis, Atlas would almost certainly suffer flights delays that

could easily have been avoided.

               8.      Atlas operates a Maintenance Control Center (“MCC”) for its 747 fleet in

Florence, Kentucky and an MCC for its 767 fleet in Miami, Florida. From these MCCs,

maintenance controllers employed directly by Atlas coordinated maintenance procedures for

Atlas aircraft around the world. The maintenance controllers are in constant contact with the

technicians who on the ground who are performing the maintenance on the aircraft. Between

approximately 2000 and 2012, I was assigned to the 747 MCC (which at the time was located in

New York). While I worked in the MCC, there were numerous times when I was directly

involved in situations where a pilot performed a maintenance-related engine start on an aircraft.

In my current positions, I am often in one of the MCCs and I have heard Atlas maintenance
managers speaking with technicians who have asked the crew to perform a maintenance related

engine start. I am also aware that Atlas has located numerous Aircraft Logs documenting

instances when pilots conducted maintenance-related engine starts.

               9.      In all of my 20-years in the maintenance department at Atlas, I have never

heard of a single instance in which damage has been suffered by a person or thing when a pilot

performed a maintenance-related engine start at the request of a technician.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


                                                 3
Case 1:19-cv-00651-RDM Document 10-2 Filed 04/01/19 Page 5 of 5
